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                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MINNESOTA


 Patterson Dental Supply, Inc.,

                      Plaintiff,                    Case File No. 19-cv-01940-JNE-LIB

 v.                                                 DECLARATION OF
                                                    MARK N. PARRY IN SUPPORT OF
 Daniele Pace and Henry Schein, Inc.,               DEFENDANT’S MOTION FOR
                                                    LEAVE TO AMEND TO ADD
                      Defendants.                   CLAIMS FOR PUNITIVE DAMAGES



         I, Mark N. Parry, state as follows:

         1.           I am over the age of eighteen and have first-hand knowledge of the facts

contained in this declaration, or, where indicated, I am knowledgeable based upon a review

of documents served herein. If called to testify, I would do so consistently herewith.

         2.       I am one of the attorneys representing defendant Henry Schein, Inc.

(“Defendant” or “HSI”) in the above-captioned action (the “Action”). I submit this

Declaration in support of Defendant’s motion seeking leave to amend its Answer to Second

Amended Complaint, Defenses And Counterclaims.

         3.           Annexed hereto as Exhibit A is a true and correct copy of Defendant’s

proposed Amended Answer to Second Amended Complaint, Defenses And Counterclaims

(“Amended Answer”).

         4.           Annexed hereto as Exhibit B is a true and correct copy of the redlined

version of HSI’s proposed Amended Answer compared to the prior Answer to Second

Amended Complaint, Defenses And Counterclaims.


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         5.       Annexed hereto as Exhibit C is a true and correct copy an email chain dated

May 2, 2018, with bates number HSI0574.

         6.           Annexed hereto as Exhibit D is a true and correct copy an email chain dated

December 12, 2019, with bates numbers HSI1019-1023.

         7.       Annexed hereto as Exhibit E is a true and correct copy an email and attached

spreadsheet dated January 5, 2017, with bates numbers PACE-0006724-6725.

         8.       Annexed hereto as Exhibit F is a true and correct copy of Patterson Dental

Supply, Inc.’s Annual Report for Fiscal Year 2019, which contains Patterson’s SEC Form

10-K, for the fiscal year ended April 27, 2019.

         9.       Annexed hereto as Exhibit G are true and correct copies of a sampling of

documents that Patterson has identified in its Responses to Interrogatories as “contain[ing]

Patterson Confidential and trade secret information.”             The bates numbers of these

documents are: PACE-00000414-496; PACE-00001126-1150; PACE-00001856; PACE-

00006893-6897; PACE-00012857; PACE-000020019; PACE-0000020026; PACE-

00020029; PACE-00020038; PACE-00020050; PACE-00020068; PACE-00020071;

PACE-00020072.

         10.      Annexed hereto as Exhibit H is a true and correct copy of an email with

attachments, dated April 4, 2019, with bates numbers PATT_0009770-9774.

         11.      Annexed hereto as Exhibit I is a true and correct copy of an email chain with

attachments, dated March 4, 2019, with bates numbers PATT_0006010-6013.

         12.      Annexed hereto as Exhibit J is a true and correct copy of an email chain with

attachments, dated July 3, 2019, with bates numbers PATT_0009086-9089.


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         13.      Annexed hereto as Exhibit K is a true and correct copy of an email with

attachments, dated June 30, 2019, with bates numbers PATT_0008925-8927.

         14.      Annexed hereto as Exhibit L is a true and correct copy of an email chain with

attachments, dated July 15, 2019, with bates numbers PATT_0008906-8909.

         15.      Annexed hereto as Exhibit M is a true and correct copy of an email, dated

May 21, 2018, with bates number HSI12553.

         16.      On January 13, 2021, counsel for HSI contacted counsel for Patterson Dental

Supply, Inc. (“Patterson”) and requested that it consent to HSI’s filing of the Amended

Answer. On January 14, 2021, Patterson’s counsel responded that they will review and

consider the request; Patterson’s counsel also asked, and Defendant’s counsel responded,

concerning one of the legal issues raised by the proposed claim, the choice of law.

Defendant’s counsel subsequently advised that, in light of the Court’s schedule, the Motion

had to be filed by January 14, 2021, but that Defendant’s counsel remain available to meet

and confer with Plaintiff’s counsel until their opposition papers are due. As of the time of

filing, Plaintiff has not consented to the proposed amendment.

         17.      As a result of this dispute with Patterson, including all pre-litigation

correspondence and the instant proceeding, HSI has incurred substantial legal expenses.

         Dated: January 14, 2021

                                                      /s/ Mark N. Parry
                                                      Mark N. Parry




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